Case 1:18-cv-00979-CCB Document 19 Filed 03/25/19 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

ROBERT L. BENDER and DEBORAH A.
BENDER,

Plaintiffs, Civil No. CCB-18-979

V.

ELMORE & THROOP, P.C.

* * * &€* & & & &F F&F KF KR OFX

Defendant.

*
*
*

For the reasons stated in the accompanying Memorandun,, it is hereby ORDERED that:
1. The defendant’s motion to dismiss (ECF No. 12), is GRANTED;
2. this case is DISMISSED with prejudice;
3. the Clerk shall CLOSE this case; and
4. the Clerk shall SEND a copy of this Order and accompanying Memorandum to counsel of

record.

. o ¥
3/25 (19 Les
Dat Catherine C. Blake
United States District Judge

 
